Case 19-22715-CMB        Doc 357    Filed 12/19/19 Entered 12/19/19 13:19:37          Desc Main
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                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 IN RE:

 5171 CAMPBELLS LAND CO., INC.,                     Bankruptcy No. 19-22715-CMB

               Debtor.                              Chapter 11

 5171 CAMPBELLS LAND CO., INC.,                     Document No.

               Movant,                              Related to Doc. No. 275, 356
        vs.
                                                    Hearing Date and Time:
 NO RESPONDENT.                                     January 21, 2020 at 10:00 a.m.


         NOTICE OF HEARING AND RESPONSE DEADLINE REGARDING
  MOTION FOR ALLOWANCE OF 503(b)(1)(A) ADMINISTRATIVE EXPENSE CLAIM IN
     FAVOR OF COMPASS ADVISORY PARTNERS, LLC FOR THE PERIOD OF
             SEPTEMBER 14, 2019 THROUGH NOVEMBER 30, 2019

 TO THE RESPONDENT(S):

        You are hereby notified that the Movant(s) seek(s) an order affecting your rights or
 property.

         You are further instructed to file with the Clerk and serve upon the undersigned
 attorney for Movant(s) a response to the Motion by no later than January 6, 2020 (i.e.,
 seventeen (17) days after the date of service below), in accordance with the Federal Rules
 of Bankruptcy Procedure, the Local Rules of this Court, and the general procedures of the
 presiding judge as found on the Court’s webpage at www.pawb.uscourts.gov. If you fail to
 timely file and serve a written response, an order granting the relief requested in the Motion
 may be entered and the hearing may not be held. Please refer to the calendar posted on
 the Court’s webpage to verify if a default order was signed or if the hearing will go forward
 as scheduled.

        You should take this Notice and the Motion to a lawyer at once.

        A hearing will be held on January 21, 2020 at 10:00 a.m. before Judge Carlota M.
 Böhm in Courtroom B, 54th Floor U.S. Steel Tower, 600 Grant Street, Pittsburgh, PA
 15219. Only a limited time of ten (10) minutes is being provided on the calendar. No
 witnesses will be heard. If there is an issue of fact, an evidentiary hearing will be scheduled
 by the Court for a later date.
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 Date of Service: December 19, 2019           /s/ Robert O Lampl
                                              ROBERT O LAMPL
                                              PA I.D. #19809
                                              JOHN P. LACHER
                                              PA I.D. #62297
                                              DAVID L. FUCHS
                                              PA I.D. #205694
                                              RYAN J. COONEY
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